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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
IN RE PORK ANTITRUST                               Civil No. 18-1776 (JRT/HB)
LITIGATION




This Document Relates to:                          DECLARATION OF KEVIN
                                                   LANDAU IN SUPPORT OF
ALL CONSUMER INDIRECT                              PLAINTIFFS’ MOTION FOR AN
PURCHASER ACTIONS                                  AWARD OF ATTORNEYS’ FEES
                                                   AND LITIGATION EXPENSES
                                                   SUBMITTED ON BEHALF OF
                                                   TAUS, CEBULASH & LANDAU,
                                                   LLP.

I, Kevin Landau, hereby declare and state as follows:

          1.   I am a partner of Taus, Cebulash & Landau, LLP. I submit this declaration

in support of Plaintiffs’ Motion for an award of attorneys’ fees and expenses in

connection with the services rendered, and costs and expenses incurred, in the above-

captioned action (the “Action”). I make this declaration based on my personal knowledge

and if called as a witness, I could and would competently testify to the matters stated

herein.

          2.   My firm and I serve as Counsel in this matter for Plaintiffs.

          3.   Attached hereto as Exhibit 1 is my firm’s total hours and lodestar,

computed at current rates, for the period from inception of the case through June 30,

2021. The total number of hours spent by my firm during this time period was 5.0 hours
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with a corresponding current lodestar of $2,750.00.1 This summary was prepared from

contemporaneous, daily time records regularly prepared and maintained by the firm. The

lodestar amount reflected in Exhibit 1 is for work assigned by Plaintiffs’ Co-Lead

Counsel and was performed by professional staff at my law firm for the benefit of the

Class/Plaintiffs during the aforementioned time period. In preparing this time I followed

Lead Counsel’s protocol for time keeping and assignments and have audited my time to

comply with that protocol. In connection with representing Plaintiffs in the Action, my

firm did the following: worked with class representatives on plaintiffs’ discovery issues.

The hourly rates for the attorneys and professional staff in my firm reflected in Exhibit A

are the usual and customary hourly rates charged by my firm in similar complex litigation

matters.

         4.     My firm has expended a total of $0 in unreimbursed costs and expenses in

connection with the prosecution of the Action from inception of the case through and

including June 30, 2021. These costs and expenses are set forth in the chart attached as

Exhibit 2 and reflected on the books and records of my firm. They were incurred on

behalf of Plaintiffs by my firm and have not been reimbursed.

         I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct. Executed on October 5, 2021 in New York, New

York.


                                            s/KEVIN LANDAU
                                              Kevin Landau

1
    Such time does not include any time expended in completing this declaration.
                                              2
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                                     EXHIBIT 1

                      TAUS, CEBULASH & LANDAU, LLP

                            Reported Hours and Lodestar
                            Inception through June 30, 2021

       Timekeeper           Professional       Hours          Current    Total
                               Status                          Rate     Lodestar
    MILES GREAVES            PARTNER            5.0            $550      $2750




              Grand Total                       5.0            $550      $2750


Role Legend
P     Partner/Shareholder
OC Of Counsel
A     Associate
LC    Law Clerk
PL    Paralegal
I     Investigator
SA    Staff Attorney
CA Contract Attorney
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                              Exhibit 2

              TAUS, CEBULASH & LANDAU, LLP

                         Expenses Incurred
                   Inception through June 30, 2021

                 Expense Category                         Amount
                                                          Incurred
 Electronic Research (Lexis/Westlaw/PACER)
 Court Costs – Filing Fees
 Litigation Fund Contribution
 Express Delivery/Messengers
 Photocopies – In House
 Photocopies - Outside
 Postage
 Service of Process Fees
 Telephone / Fax
 Transportation / Meals / Lodging
 Experts/Consultant Fees
 Court Reporter Service/Hearing Transcript Fees
 TOTAL EXPENSES                                      $0
